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U.S. Department of Education

Office of Federal Student Aid


Thirty Fourth Monthly Compliance Report in
response to ECF 130, Manriquez et al. v. Cardona,
Case No. 17-cv-07210-SK, U.S. District Court for the
Northern District of California




                                            August 1, 2022




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                                      Introduction and Summary

         Pursuant to the Court’s Order of October 24, 2019, ECF No. 130, the U.S. Department of

Education (the “Department”) through its Federal Student Aid office (“FSA”) submits its thirty

fourth monthly status report regarding its attempts to comply with the preliminary injunction in

this case, see ECF No. 60. That injunction, as amended on June 19, 2018, ECF No. 70, and

clarified on August 30, 2018, ECF No. 89, prevents the Department from collecting relevant

student loan debts from members of the class that has been certified in this case.1 See also Order

Granting Mot. for Class Cert., ECF No. 96.

         The Department is maintaining substantial compliance with the preliminary injunction by

immediately placing newly identified potential class members in the appropriate repayment

status to stop debt collection and maintaining potential class members in appropriate repayment

status on an ongoing basis (e.g., forbearance).

         The Department has continued sending borrower defense decision letters to certain

borrowers as described in prior reports. To ensure that such borrowers who have been identified

as potential class members in previous reports are kept in forbearance while federal loan

servicers finish processing their adjudicated claims, the Department will continue to include

these borrowers on the first tab of the attached spreadsheet as potential class members until their

borrower defense claims are fully closed out and the changes to their federal loans are processed.

         As in prior reports, this report includes a spreadsheet containing a list of the currently

known potential class members, which the Department will separately move to file under seal

due to the personally identifying information contained therein. For each potential class


1
 Because the borrowers covered by the preliminary injunction are co-extensive with the borrowers covered by the
order certifying the class in this case, references to class members in this Report refer to borrowers covered by the
preliminary injunction. See Order Certifying the Class, ECF No. 96; Amended PI Order ¶¶ A-C.

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member, the spreadsheet includes information the Court has requested about the Department’s

attempts to comply with the preliminary injunction. Throughout the spreadsheet, “1” is used to

answer “Yes,” and “0” is used to answer “No.” The spreadsheet contains three sections. The

first section (the first 524 pages) lists each potential class member and then provides answers for

the Court’s first, second, and seventh questions. The second section (pages 525 through 537)

lists the subset of potential class members who were impacted by the Department’s non-

compliance. For these impacted borrowers, the spreadsheet provides answers to the Court’s

third, fourth, fifth, and sixth questions. Finally, the third section (the last page) contains an index

of shorthand terms and abbreviations used throughout the spreadsheet.

       The Department continues to take every reasonable effort to ensure compliance with the

Court’s injunction, including an ongoing process of monitoring and verifying borrower defense

applications.



   1. Defendants’ progress toward identifying which of the 74,781 potential class
      members are class members

       The potential class listed in the attachment currently consists of 71,685, borrowers, a net

increase of 745 borrowers from the number reported in the July 2022 Compliance Report. This

change includes the addition of 745 borrowers to the potential class and the removal of 0

borrowers from the potential and confirmed class. The additions to the potential class were the

result of activity such as new borrower defense claims received by FSA, newly opened cases that

were previously incomplete (e.g., claims initiated by borrowers, but not fully documented with

supporting information or evidence), borrowers with only FFEL loans who recently consolidated

into Direct Loans, and FSA’s ongoing data validation and verification efforts. As previously




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indicated, the number of potential class members will continue to be dynamic as new borrowers

apply and validation and verification continues.

         Of the 71,685 potential class members listed in the attachment, FSA has determined that

3,013 borrowers are currently confirmed class members (e.g., submitted a successful job

placement rate (“JPR”) claim against a Corinthian (“CCI”) school and have outstanding Direct

Loans). That is a net decrease of 1 from last month’s report.2 FSA continues to make progress

determining the class status of the remaining 4,865 still unconfirmed potential class members (a

net increase of 643 unconfirmed potential class members from last month’s report).

         On June 1, 2022, the Department announced it will discharge all remaining federal

student loans borrowed to attend any campus while it was owned or operated by Corinthian

Colleges Inc. (Corinthian) from its founding in 1995 through its closure in April 2015.3 This

includes borrowers who have not yet applied for a borrower defense discharge. Consequently, all

remaining class members will receive relief according to the announcement.

    2. The repayment status of each potential and confirmed class member




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  In total, 63,807 of the 71,685 potential class members listed in the attachment are not confirmed class members
because they no longer have pending borrower defense claims that potentially meet the criteria. This includes
borrowers who have been adjudicated for 100% relief (as described in prior reports, such borrowers no longer
qualify for membership in a class consisting of individuals “who have not received a full discharge of associated
student loan debt and a return of any money the Department collected on the loan,” ECF No. 96); borrowers whose
Corinthian JPR application has been determined ineligible because they did not attend the right program, did not
attend during the right time period, or otherwise did not successfully fill out their application form; and borrowers
whose borrower defense application was approved for a non-JPR claim. As previously noted, FSA will keep these
borrowers on the list of potential class members on tab 1 until their borrower defense claims have been fully
processed by the servicers.
3
 See https://www.ed.gov/news/press-releases/education-department-approves-58-billion-group-discharge-cancel-
all-remaining-loans-560000-borrowers-who-attended-corinthian-colleges

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       As stated in prior reports, the Department continues to maintain all identified potential

class members in forbearance, stopped collections or a similar repayment status, unless a

particular borrower has proactively opted out of that status.

       The first section of the spreadsheet attachment provides the repayment status of each

potential class member. For each potential class member not in forbearance or stopped

collection status, the spreadsheet indicates the reason why, such as being in an alternative status

that is similar to forbearance (e.g., a $0/month income-driven repayment plan or in-school

deferment status). The abbreviations and shorthand terms used on this portion of the spreadsheet

are defined in the third section of that spreadsheet.



3.     Whether each potential and confirmed class member was erroneously taken out of
       forbearance or stopped collections status and whether the correct status has been
       restored

       FSA has continued its efforts to reduce the overcounting of impacts to potential class

members. As explained in prior reports, FSA removed those borrowers from the impacted lists

whose only impacts occurred (1) prior to the date they filed their borrower defense application or

(2) within the reasonable amount of time it takes for FSA to process the borrower defense

application.

       FSA is continuing the process of confirming which borrowers in the impacted categories

experienced debt collection activities caused by noncompliance with the injunction and

identifying and removing those borrowers who only experienced debt collection activities

unrelated to noncompliance with the injunction.

       All 1,821 borrowers whom FSA has identified at some point as having been erroneously

taken out of forbearance or stopped collections status are currently in the correct repayment



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status. This total number of impacted borrowers decreased by 4 since the July 2022 Report. The

primary reason for the net decrease in affected borrowers is the removal of borrowers who are no

longer class members (e.g., because they have received 100% borrower defense relief and no

longer meet the class definition).

       For each potential class member impacted by the Department’s non-compliance, the

second section of the spreadsheet attachment indicates whether the borrower was in an erroneous

payment status and whether the status has been corrected.



4.     Whether each potential and confirmed class member made a payment or multiple
       payments due to Defendants’ negligence, and whether refunds have been issued

         FSA has identified 740 borrowers who made one or more voluntary payments, a net

increase of 13 borrowers from the July 2022 Report. This number continues to vary from report

to report as some borrowers are continuing to voluntarily pay down their loans and FSA notifies

borrowers of their approval for 100% relief.

       As discussed in prior compliance reports, the Department did not request that the U.S.

Department of the Treasury process refunds for some of the potential class members identified at

that time as having made voluntary payments because these borrowers appear to have made

payments for reasons unrelated to the incorrect payment due notices they were sent, and so

refunding these borrowers would lead to unintended consequences and potential financial harm.

(See Nov. 2019 Report at 6-7 and Dec. 2019 Report at 10). For example, during this period of

national crisis, FSA has suspended billing for all Federally held student loans and therefore any

borrowers still submitting payments during this time are doing so voluntarily and are not being

refunded.




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          Additionally, FSA has identified 34 borrowers who may have already been issued

refunds for payments they made prior to the last Report, but who are still voluntarily making

payments on their student loans. This number is unchanged from the July 2022 Report. In light

of these borrowers’ decision to continue making payments, FSA has categorized those borrowers

on the spreadsheet as “Borrower has submitted additional payments after CARES Act

protections in place.”

          For each potential class member impacted by the Department’s non-compliance, the

second section of the spreadsheet attachment indicates whether the borrower made one or more

payments and refunds have been issued.



5.        Whether each potential and confirmed class member was erroneously subjected to
          wage garnishment or tax offset due to the Defendants’ negligence, and whether
          refunds have been issued


          FSA has initiated refunds for all involuntary payments made by the 3 borrowers it has

identified as having been subjected to wage garnishment or tax offsets, no change from the July

2022 Report. As part of FSA’s ongoing validation and verification process, FSA has identified

no confirmed or potential class members who were subject to involuntary collection this past

month.



6.        Whether each potential and confirmed class member was subject to adverse credit
          reporting due to Defendants’ negligence, and whether each false credit report has
          been corrected

          FSA has completed or initiated credit corrections for all 151 borrowers listed in the

spreadsheet as having been subject to adverse credit reporting, no change from the July 2022

Report.

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7.         Whether each potential and confirmed class member has received the revised notice
           of Defendants’ noncompliance, to be approved by the Court



           FSA completed distribution of the Court-approved notice to the members of the class as

of December 31, 2019. In order to prevent any borrower confusion, FSA did not send class

notifications to those borrowers who received separate notice of claim adjudication on December

11, 2019, and therefore did not have pending borrower defense applications at the time the

revised notices were sent.

           For each potential and confirmed class member, the first section of the spreadsheet

attachment (starting on page 1) indicates whether the borrower was sent the revised notice.



8.         Whether Defendants have established a hotline and webpage specifically for
           Corinthian borrowers

           The Department’s communications team has revised the StudentAid.gov website to

include prominently placed links regarding this case on the website’s home page (specifically in

its “Announcement” and “Popular Topic” sections).4 Additionally, highlighted and simplified

language has been included on the linked webpage5 within the website. As previously reported,

these improvements were made on October 21, 2019. The communications team will continue to

improve the website’s content regarding this case and for Corinthian borrowers.

           Additionally, the Department’s communication team has improved the existing borrower

defense telephone hotline at 1-855-279-6207, to include a targeted greeting, a dedicated menu

option regarding this case, and current targeted information for customer service representatives


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    https://studentaid.gov/
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    https://studentaid.gov/announcements-events/corinthian#preliminary-injunction

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to answer general questions regarding this litigation, as well as the adjudication and litigation

class member notifications disseminated in December 2019.



9.         Any other information relevant to the Defendants’ compliance with the preliminary
           injunction



           The Department has and will continue to work closely with its servicers and private

collection agencies to implement the student loan provisions of the CARES Act, oversee

servicers’ efforts and monitor progress, and make changes as events warrant. On April 6, 2022,

the COVID-19 emergency relief measures were extended on Department-owned federal student

loans through August 31, 2022.6

           The Department remains not only focused on remediating any harm to any and all

borrowers that have been affected, but also on making strategic improvements to our operational

program management and loan servicing oversight, control, and communication frameworks.

The Department will continue its exhaustive efforts to verify, validate, and report on progress to

ensure compliance with the terms of the Court’s Order and reestablish the trust and confidence of

our borrowers and the public.




6
    https://studentaid.gov/announcements-events/coronavirus

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